Case 8:12-cr-00205-SDM-SPF Document 251 Filed 11/10/14 Page 1 of 2 PageID 669




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION\

UNITED STATES OF AMERICA

v.          CASE NO. 8:12-CR-205-T-17MAP

ANGEL VILLANUEVA.

                                     /

                       PRELIMINARY ORDER OF FORFEITURE

       The United States moves, pursuant to 21 U.S.C. § 853(a), 18 U.S.C. § 924(d)(1),
and 28 U.S.C. § 2461(c) for a preliminary order of forfeiture for the following firearms
and ammunition:

       a.   One Israel weapon IND-IWI (Israel Military IND-IMI);

       b.   One Zephyr Woodlander II SB .12 caliber shotgun;

       c.   One round Winchester-Western .45 caliber ammunition;
            and

       d.   One round Speer .50 caliber ammunition.


       Angel Villanueva pleaded guilty to the drug trafficking conspiracy, in violation of
21 U.S.C. §§ 841(a)(1), 846, 841(b)(1)(A), and 841(b)(1)(C), as charged in Count One
of the Superseding Indictment, and possession of a firearm in furtherance of the drug
trafficking conspiracy, in violation of 18 U.S.C. 18 U.S.C. § 924(c)(1)(A)(i), as charged
in Count Two, and the Court adjudged him guilty of these offenses. In his Plea
Agreement, Villanueva admitted that the firearms and ammunition were possessed by
the defendant in furtherance of his drug trafficking and related criminal activity.
Thus, the United States has established the requisite nexus between the firearms and
ammunition identified above and the offenses of conviction. The United States is
entitled possession of the firearms and ammunition, pursuant to the provisions of 21
 U.S.C. § 853(a)(2), 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and Federal Rule of
Case 8:12-cr-00205-SDM-SPF Document 251 Filed 11/10/14 Page 2 of 2 PageID 670




Case No. 8:12-CR-205-T-17MAP

Criminal Procedure 32.2(b)(2). Accordingly, it is hereby


       ORDERED that motion of the United States is granted (Dkt. 211).


       It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853(a)(2), 18 U.S.C. §
924(d)(1), 28 U.S.C. § 2461(c), and Federal Rule of Criminal Procedure 32.2(b)(2), the
firearms and ammunition are forfeited to the United States of America for disposition
according to law, subject to the provisions of 21 U.S.C. § 853.


       The Court retains jurisdiction to enter any order necessary for the forfeiture and
disposition of the firearms and ammunition, and to address any third party interests that
 may be asserted in these proceedings.


       DONE and ORDERED in Chambers in Tampa, Florida on this / ^ d a v o f
 November, 2014.




 Copies to:
 All Parties/Counb^.
